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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

BERTRUM JEAN, individually and as the               §
surviving father of Bothan Shem Jean,               §
ALLISON A. JEAN, individually and as the            §
surviving mother of Botham Shem Jean,               §
and ALLISA E. FINDLEY as the                        §
Administrator of the Estate of Botham               §
Shem Jean,                                          §
              Plaintiffs,                           §
                                                    §
v.                                                  §    Civil Action No. 3:18-CV-2862-M
                                                    §
THE CITY OF DALLAS, TEXAS, and                      §
AMBER GUYGER,                                       §
          Defendants.                               §

                                     ORDER STAYING CASE

        In light of the fact that the criminal trial of Amber Guyger relating to facts which are the

subject of this case is being tried beginning today, the Court sua sponte stays the entirety of this case.

The Court will reopen this case at an appropriate later time.

        SIGNED this 23rd day of September, 2019.


                                                _________________________________
                                                BARBARA M. G. LYNN
                                                CHIEF JUDGE
